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}N 'I`HE ])IS’I`RICT COURT OF ()KLAHOMA COUNTY

    

STATE OF OIUJAHOMA
(I) PRESTRIDGE~HUNT, Meagan, an fndividual, )
)
Plaintif§f, )
)
vs. ) CJ~2012
) CJ . 0 1 2 - 2 2 z 8
(1) 0LD cincAGo RESTAURANT, )
an Okla.homa eorporation; ) x in k n
(2) cRAF’rWORKS RESTAURANTS AND ) F§§ !§'=§§ §§§' § f §§§ §§ @9§§§`§§
BREWERIES, INC., an Oklahoma corporation; ) G§§§‘§§§ §§ §§§ §§§ § ’§‘§ §§§§ O§§§§§§
(3) CENTERBRlDGE CAPI‘I`AL PAR'INERS, ) § '
. ¢PR 1 3 2012
a New Yerk Corporatlon; and ) . l
(4) ADVANCED BMPLOYER SOLUTIONS, L.L.C., ) P»§§.\T Fi£‘,`_§: -‘l §§ § - ' ;§“, G UF§I` Gi.EEK

 

='Pu'rv
Defendants. '

PE'IITIOB
COMES NOW the Plajntiff, MEAGAN PRESTRID GE~HUNT, and for her causes of action
in the above styled and numbered cause, states end alleges as follows:
PARTIES
l. PlaintiE is and was at afl times pertinent to this Petition a resident of Oklshotna
County, State of Oklahorna. As more fully set forth below, at all pertinent times, Plai ntift` was a full-
time management employee of Oid Chicago Restaurant and/or of it’s ownership, franchisees,
affiliatess agents and/or assigns
2. Defendant OId Chicago Restament (“Old Chieago”) is a full~serviee restaurant which,
upon information and belief, is owned andfor operated by Defendants Craftworks Restaursnts and
Breweries, lnc. and Centerbridge Capital Partners and/or by and through their hanehisees, affiliates
and/or assigns 01d Chicego Was, at all time pertinent to this Petition, Plade‘s employer as defined

by the Family end Medicgl Leave Act, 29 U S. C 2601, er seq. (“FMLA”) and otherappliaelaw __

  

 

 

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Old Chicago conducts business within Oklahoma County and is an “empioyer” in an “inciust:ry
affecting commeree” as defined by the FMLA. 29 U.S.C. § 261 l(l) and (4) and Olh€r applicable law-
3. Defendant Craitworks Restaurants and Breweries, lnc. (“Creftworks”) is, upon
information and belief, an owner and/or operator ofDefendant Old Chiczigo Restaurant. Craitworks
was, at all time pertinent to this Petition, Piaintit`f’s employer as defined by the Fainily and Medical
Leavc AQL, 29 U.S.C. 2601 , et seq. (“FMLA”) and other applicable law. Craitworks vis a vis Old
Chicago conducts business Within Oklahoma County and is an “ernployer” in nn “industry affecting
commerce” as defined by the FMLA. 29 U.S.C. § 2611(1) and (4) and other applicable law.

4. Defendant Centerbridge Capital Partners (“Centerbridge”) is, upon information and
beiiet`, art owner and/or operator of Defendant Old Chicago Restaurant, and/or an owner, operator
or partner of Craftworks Restaurants and Breweries, Inc. Centerbn'dge was, at all time pertinent to
this Petition, Pleintiff’s employer as defined by the Faznilv and Medioal Leave Act, 29 U.S.C. 2601,
et seq. (“FMLA”) and other applicable law. Centerbridge vis a vis Old Chicago conducts business
within Oklahoma County and is an “employer” in en “industry affecting connecrce" as defined by
the FN£LA. 29 U.S.C. § 261 i(l) and (4] and ether applicable law.

5 . DefendnntAdvanoed Einployer Soiutions, L.L.C. (‘°AES”), is, upon information and
belief, en agent and/or contractor of the foregoing Defendnnts and whose responsibilities at the time
of Plaintii`r°’s employment at Old Chicago included, among other functions, hmnan resources,
payroll, employee benefits and employee leave determinations AES conducts business within
0klahoma County and is an “employer“ in an “industry affecting commerce” as defined by the

FMLA. 29 U.S.C. § 2611(1) and (4) and other applicable law.

 

 

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JURISDICTION AND VENUE

6. Jurisdiction is proper pursuant to OKLA. STAT,, tit, l?., § 2004(£); venue in this district
is proper pursuant to OKLA. STAT., tit. 12, §§ 133, 134, 137, 139 and 143. To the extent applicable,
all conditions precedent to the institution of this law suit, including exhaustion of available
administrative remedies, have been satisfied

P E NARY STATEMENT OF T A

7 . Plaintift` restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

8. Plaintiff is a former fuli»time management employee of OId Chioago.1 During the
course of her employment, Plajntift` became pregnant she and the child developed serious health
conditions; and were subsequently admitted to the care of Plaintiif’s healthcare provider because of
complications with her pregnancy Plaintiff sought leave from her employment as permitted by the
Farnily and Medical Leave Act, 29 U.S.C. 2601, el seq. (“FMLA”) and applicable law.

9. Plaintiff went on a medical leave-of~absence due to her pregnancy on or after January
23, 20l0. On April lS, 2010, prior to the expiration of twelve (12) weeks of leave entitlement as
proved by the FMLA, 29 U.S.C. 2612(a)(l), Defendants terminated Plaintif;`f' s employment directly
in relation to Plajntiff’s pregnancy, her serious health condition, and the enforcement of her lights
under the FMLA.

i(). During the course of Plaintiii’s leave of absence under the FMl .A, Defendants

charged Plaintiif for her healthcare insurance premiums and subsequently terminated Plaintifl"s

 

1 Defendants 0id Cbicago, Crat`tworks, Centerbridge and AES are collectively referred to
as “Old Chjcago” or “Defendants.”

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enrollment in the healthcare plan in contradiction to the FMLA, 29 U.S.C. 2614(0.)(1).
FIRST CAUSE OF ACTION
Violations of Family and Medical Leave Act

l l. Plaintiii` restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

12. Plaintiff"s leave under the FMLA began on or after January 23, 2010. Defendants
terminated Plaintiff on April 15, 2010, prior to the exhaustion of twelve (12] weeks leave as
permitted by the FMLA.

13 . Defendants terminated Plaintil`f in direct relation to her pregnancy; her and her child’ s
serious health conditions arising therefrom; and because of Plar'ntiff’s enforcement of her rights
under the FMLA.

14. By failing or refusing to restore Plaintiif to the same or equivalent position that she
held with Dcfendants prior to her leave, Defendants violated the FMLA.

15. By requirement payment of her healthcare insurance premiums and subsequently
terminating Piaintiff’s enrollment in the healthcare plan while Plaintiif was on leave under the
FMLA, Defendants violated the FM`LA,

16. Defendants violations of the FMLA were willful, in bad faith and in reckless
disregard of Plaintiff’s rights afforded by the FMLA and applicable law.

MMEQMCLON
Wrongful Terrn'mation of Employment
17 . Plaintiff restates and incorporates herein by reference the preceding and subsequent

allegations of this Complaint.

 

 

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18. Defendants terminated Plaintiff’s employment in contradiction to well-established
Oklahoma public policy. At OKLA. STAT., lit. 25, §1302, Oklahoma law provides: “It is a
discriminatory practice for an employer...[t]o fail or refuse to hire, to discharge, or otherwise to
discriminate against an individual with respect to...the terms, conditions, privileges or
responsibilities of employment because of...sex....”

19. At Section 1301(6) of Title 25, Oklahoma law defines “sex”, “because of sex” or
“based on sex” as inclusive of, but not limited to, “pregnancy, childbirth or related medical
conditions.” OKLA. STAT., tit. 25, §lf)‘Ol.

20. Det`endant’s termination of Plaintii`f during her linder leave, the same being directly
related to Plaintiff`s sex, constitutes wrongful tennination.

21. Said wrongful termination was intentional, and committed with malice and/or with
reckless indifference to Plaintifi’ s rights

THI C U , F ACTION
Bad Faith Br'each of the Implietl Covenant of Good Faith and Fair I)ealing

22. Plaintiff restates and incorporates herein by reference the preceding and subsequent
allegations of this Pctitiou.

23. Defendants had adutyto deal with Plaintiffin good faith but, by terminating Plaintiff
as set forth in the Preliminary Statenient of the Case, breached said duty.

24. Defenclants knowingly, willfully and recklessly breached their obligations owing to

Plaintifl`, and Said breach was in bad faith

 

 

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FOQBTH QAUSE OF AC'I`ION
Breacll of Contract

25. Pleintiff restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

26. Plaintiff submits that, as more fully set forth in tire Preliminary Staternent of the Case, '
Defendants entered an employment contract with Plaintiff, and that Defendants breached said
contract by terminating Plaintiii` as set forth in the Preliminary Statement of the Case.

I"IF'I`H CAU§E OF AC'I`ION
Breach of Fiduciary Duty

27. Plaintiff restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

28. Plaintiff submits that Defendants acted in a fiduciary capacity by making decisions
related to Plaintiff’ s employee leave benefits lawful entitlements related thereto, and that Defendants
breached the obligations thereof by terminating Plaintiff as set forth in the Preliminary Statement of
the Cese.

SIXTH CAUSE OF ACTION
Negiigence

29. Plaintiff restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

3 0. As more fully set forth in the Preliminary Staternent of the Case, Piaintiff submits that
Defendants acted negligently in the implementation, interpretation and enforcement of applicable

laws and policies related to Piaintiff’s employment and termination thereof

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SEVEN'I'H CAUSE OF ACTLOB

Gross Negligcnce

31. Plaintiff restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

32. As more fully set forth in the Preliminary Staternent of the Case, Plajntiff submits that
Defendants acted wantonly, recklessly and with gross indifference to Plaintit`t"s rights in the
implementation, interpretation and enforcement of applicable laws and policies related to Plaintiff’s
employment and termination thereof

EIQTH CAUSE QE A§§TI()N
Intentional Infliction of Emotlonal Distress

33. Plaintift` restates and incorporates herein by reference the preceding and subsequent
allegations of this Petition.

34. Defendants acted intentionally, willfully, andfor in reckless disregard of Plainti_ff’s
physical, mental and emotional Well-being in the implementation, interpretation and enforcement
of applicable laws by terminating Plaintiff as set forth in the Preliminary Statement of the Case, and
that said acts constitute extreme and outrageous conduct which no person should reasonably be
expected to endure.

35, Defendants’ intentional, willful, and/or reckless disregard for Plaintiff’s welfare
caused Plaintiff to sustain severe physical, mental and emotional pain and suffering

NINTH CAUSE OF ACTION
Negligent Intliction of Emotional Distress

36. Plaintiff restates and incorporates herein by reference the preceding and subsequent

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allegations of this Petition.

437. Defendants acted in negligent disregard of Plamth physical, mental and emotional
well-being in the implementation interpretation and enforcement of applicable laws by terminating
Plaintiff as set forth in the Preliminaty Statement of the Case, and that said acts constitute extreme
and outrageous conduct which no person should reasonably be expected to endure.

3 8. Defendants’ negligent conduct caused Pl aintiff to sustain severe physical, mental and
emotional pain and suffering

WF_A£MN
Negligent ering, Staffing, Traintng, and Supervision

39. Plaintiff restates and incorporated herein by reference the preceding and subsequent
allegations of this Petition.

40. Defendants owed a duty to ensure that applicable laws are followed and enforced by
appropriately hiring, staffing, training and supervising those charged with interpretation and
enforcement of said laws and policies.

41. Det`endants breached their duty to hire, stafi`, train, and supervise their ott`rcials,
officers, agents andfor empioyees, thereby causing Plaintit`f damagesl

CONQLUSION

WHEREFORE, PlaintiFR for her claims herein asserted, seeks actual, compensatory and
consequential damages in excess of $ 10,000.00, with the exact amount to be determined by ajury;
Plaintiff further seeks an award of punitive damages in excess of$l 0,000.00, with the exact amount
to be determined by a j ury; Plaintiff requests the costs, interest and attorneys fees associated with this
action; and Plaintiff requests any and all other relief this Court deems tit and proper under

the circumstances

 

 

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ATTORNEY L[EN CLAIIVIED

JURY TRIAL DEMANDED

Respectfully submitted,

RAPHABL T. GLAPION, P.C.

 

Post Oitice Box 10736

Midwest City, OK 73140~1786

’l`elephone: 405/610-2255

Facsilnile: 405/610-2255

Email: rtglapion@mvol<lahon.acouusel.com

RaphaelT.Glapion B.)QQ~"~F# )C)~ y go <Q

 

